      Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 1 of 17 PageID #:12             2.tc


                                                                        REGEIVED
                               UNITED STAIES DISTRICT COURT                  APR   t       ZOtgb
                               NORTTIERN D.ISBICT Oh' nLINOIS
                                     EASTERN DIVISION
                                                                                       '
                                                                          THOMASG. BRUTON
                                                                       CLERK, U.S. DISTRICT COURT




8r ion Ooicro


(Enter above the full name
of the plaitrtiffor plaintiffs in
this aotion)
                                               1:19-cv42518
                         vs.
                                               juOge Mrginia M' Kendall

                 dficsr        R,chond
                                               ilrrdi=tt td Juoge Maria valdez
Cc.D     O.C'.
                                                PC1
c.r.bo.t.rfiic,sf huqn
C.t.DoC o(,ce.sT0nAh*




@nter abovethe     full name of ALL
defeniJants in this action. Do not
use "et al.")

CHECK OITIE OITILY:

 ,/              coMpLArNT.uNDERTrrECrvILRrcHTsACT,TrrLr,4zsECTIoNlgS3
                 U.S. Code (state, Goulty, or municipal defendants)

                 COMPLAINT I]II{DER TINE CONSTITUTION ("BTVENS" ACTIOT9, TITI,E
                 zg   srCftoN 1$r     U.S. Code (federal defendants)

                 OTHER (cite statute, if known)

BEFORE FILLING OAT TEIS COMPI.AINT, PLEASE REFERTO "INSTRUCTIONS FOR
FILING., i' FoLLow rrl EsE INsrRacrIoNS a$E FaLLY.
Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 2 of 17 PageID #:13




 Plaintilf(s):

 A.      Name:

 B.      Listall aliases:
                            {ft       -.         ,




 c.      hisoner identifioation number: _  O\1CQ.Z\\tql _
                                             1                                            .



 D.      Place of prese,nt confinern*t, Crr-K kUf'tt, [t^t\                           .



 E.      Address:   P,b 6oX OBQooz
                                                                             name, aliases, I.D.
 flftherc is more than one plaintifi thea each plaintiffmust list his or her
 number, place of confine.eot, and cunent addreqs according.to the above fonnat on a
 separate sheet of paper.)

 Defeudant(s):
 (n A below,-place fhe full name of the first defendant in the fust blanlq his 9r.ho1 official
 position in thi secorq blar lq and his or her place of employrnent in tlre third blatrk. Spaoe
 fortwo additional defendants is pro'rrided in B and C.)

 A. Defendant: officzr                 (iuhord
         Title:

         Place ofEmployme,lrt:                                  c\       il
                  Qffi(,ur Atten
         Defendaqt:

         ,u,., (pcK Co\.tn[y Sheriff
         placeofErnployment:       COM Ca'rr*y             ti\C,t   il
         Defendant:    Tonn IXtr|                             .--
         Title:

         Place of Employment:

  (If you have more than tbree   defendants, then all additional defendants must be listed
  according to the above fouuat on a separate sheet ofpaper.)




                                                                                     Rcviscd 92007
  Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 3 of 17 PageID #:14

            [f   you need additional space for ANY sec{ion, please attach an additional sheet and rebrence that sec'tion.]




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have liled in any state or federal
       court in the United States:

       A.              Name of case and         docketnumber:            l(    CV    l3qtl

       B.              Approximate date of filing lawsuit:                fub " ZOI\
       C.              List all plaintiffs (if you had co-plaintiffs), including any aliases:
                            Bcian 6c,rL.\


       D.              List all defendants:          ,4 *


       E.             Court in which the lawsuit was filed (if federal court, name the district; if state court,
                      name the county): iJqrlzd SnrykS fUorhcrnDrstnci                            cf
                                                                                   Jllinois 6s*zrn Divi5'on '
       F.
                      N?-q ojjudseto           whom.case was assignea: llarnovuble                  rjr,k. V,r$n'ia M. lQrrdoll

       G.              Basic claim made:          Re{"s"d flpclicql *t!,vh"renl


       H.             Disposition of this case (for example: Was the case dismissed? Was it appealed?
                      Is it still pending?):                      rlhoat of*.lreJi
                                                       tn+

                      Approximate date of disposition:                  3-lLl-lq

IFYOU HAVE FILED MORB THAN ONE LAWSUIT, TIIEN YOU MUSTDESCRIBE THE
ADDITIONAL LAWSUITS ON AI\OTHER PIECE OF PAPER, USING TIIIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY IIAVE FILED.




                                                                                                                         Revised 9/2007




        !f       you need additional space for ANY sec{ion, please attach an actditional sheet and reference that section.I
Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 4 of 17 PageID #:15




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                                                                      ismissal? Was
r*o
     Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 5 of 17 PageID #:16




m.    List ALL lawsuits you (and your co-plaintiffq, if any) have filed in any state or federal
      court in the United States:

             Name.of case and docket



      B.     Approximate date of filing
                                                      't lB-lB
                                           lawsuit:- I '

      C.     List all plaintitrs (if you had              ), including any aliasos:




             List a1 defe'dants:     Ironf &m0rnbAr


             Court in which the lawsuit was filed   (if
             name the csunty):    Uni

      F.                                                     Honrrqble, J,rdP Virg    i   nqM. &nlo       It




      c.     Basio claim   *ra", T:Ddl QPrvP,mWf


      H.     Disposition of this case (fqr.elample:
                                      -             pas the case dismissed? Was it appealed?
             Is if still pending?):      Sfill p2nd
                                                          'nrl
                                                            J


      I.     Approximate date of disposition:       fl/X

tr'you HAYE FILED MORE THAN ONE LAIVSUIT, TIrEN YOU MUST DESCRTBE TIm
ADrrrfioNAL LAWSUITS ON AIIOTIER PmCE Or PAPE& USING THIS SAME
FORIT,IAT. REGARDLESS OF IIOW MANY CASES YOU IIAVE PREVIOUSLY FILED,
you WILL NoT BE EXCUSED FROM X'ILLING OtrI THIS SECTION COMPLETELY,
AI{D FAILI]RE TO DO SO MAY RESTJLT IN DISMISSAL OT YOUR CASE. CO-
PLAINTIT. S MUST ALSO LIST ALL CASES TIIEY HA\{E FILED.



                                                                                          Rcvigod 9D00?
      Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 6 of 17 PageID #:17




ry.    Shtement of Claim:

       State hore as briefly as possible the facts of yoqr oase. Describe how eaoh defendant is
       involvd, including names, datas, and places. Do not grye any lggal arguments or citeany
       coses or statutes.lf you intend to allegc a number of relafcd claims, rumber and set forth
       eaoh claim in a separate paragraph. (Use as much space as you need. Attach oxtra sheets
       if neoessary.)
                                                 ;nt;tg



                                                          qrnlr(f




                                                                                       Rclrised 9/2Un
Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 7 of 17 PageID #:18




                                                                 Rcvilcd 92007
     Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 8 of 17 PageID #:19




v.    Relief:

      State   briefly e:ractly. what you want the court to do for you. Make no legal arguments. Cite




      The plaiffitrdemands that the case be tied by        a   jury.   d **      n     NO



                                                           CERTTFICATION

                               By  srgning this Complaint, I ccrtify that the frc$ stated in this
                               Compiaintare tru9 tothe best of my knowledge, infomation and
                               belief. I understandthat ifthis oertification is not conect,I may be
                               subject to sanctions by the Court.

                               Signed   trris 4        A   ,y   ot 3      .20-n



                                          of plaintiff or plaintiffs)


                               (Printname)

                                    ?pttoqatkl
                               (.D. Number)




                                                                                         Roviscd92(X)7
    <---7

                                      Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 9 of 17 PageID #:20
                                       COOK COUNTY SHERIFF'S OFFICE
                                            (Oficino del Alguacil del Condodo de Cook)

                                            INMATE GRIEVANCE FORM
                                            (Formulorio de Queja del Preso)


                                                                                                                                                                             -
             E     Grievance                                                                                        E Superintendent:
             E     Non-Compliant Grievance                                                                          E other:
             PRINT -   INMATE Sf NAME         (Apellido delPreso):                   PRINT - FIRST NAME (Primer Nombre):                                   INMATE BOOKING NUMBER i#de ldentilicaci6n deldetenido)




                                     Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.

             custody inmate, or decisions of the in mate disciplinary hearings officer.

             sexualassault,harassment,voyeurism,orabusenotimelimitsexist,             lfyoubelieveanexceptionappliespleaseseeacRw(correctionalRehabilitationworker.)
             The grieved issue must not be a repeat submission ofa grievance collected within the last 15 calendar days.
             The grieved issue must not be a repeat submission of a grievance that previously received a response and was appealed.
             The Brieved issue must not be a repeat submission of a grievance that previously received a response and you chose not to appeal the response         within   15 calendar days
             The grieved issue must not contain offensive or harassing language.
             The grievance form must not contain more t$an one issue.
                              issue must not Dertain to non-iail related concerns such as   with                                    or medical staffat outlvins hospitals. etc.


             El asunto de la queja      tiene que satisfacer todo     el criterio listado   mis abajo para obtener un nfmero de control, para        ser apelado   y/o agotar todos    los remedios posibles.

             designaci6n del preso, Tal como riesgo de seguridad o custodia de protecci6n para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.



             (rRc/cRwl.
             El   asunto de la queja no puede ser una repetici6n de una queja sometida en los oltimos 15 dlas calendarios.

)            los 15 dias calendarios.
             El asunto de la queja no puede contener lenguaje ofensivo o amenazante
             La solitud de la queja no puede contener m6s de un asunto.


             hospitales perif6ricos, etc.



             DATE OF INCIDENT                 TIME OF INCIDENT                SPECIFIC TOCATION OF INCIDENT                                  NAME and/or IDENnFIER(S) OF ACCUSED
             (Fecho Del lncidente)            (Hora Del lncidente)            (Lugor EspeciJico Del lncidente)                              (Lugor Especifico Del lncidente)




             (Nombre del personal o presos que tengon inlormaci6n:)




            (FcN-aoaXAUG 16)                                 (WHITE COPY _ INMATE SERVICES}                      (YErrow coPY   -   CRW/PLATOON COUNSELOR)                           (PINK COPY   -   TNMATE)
                         Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 10 of 17 PageID #:21
                                COOK COUNTY SHER!FF'S OFFICE
                                (Oficina del Alguacil del Condodo de Cook)

                                INMATE GRIEVANCE FORM
                                (Formulorio de Quejo del Preso)



 E     Grievance                                                                                             -
                                                                                                       E Superintendent:
 E     Non-Compliant Grievance                                                                         E other:
 PRINT - INMATE IAST NAME (Apeilido delPreso)l                         PRINT - FIRST NAME (Primer Nombre):                                    INMATE BOOKING NUMBER /rde ldentificoci6n deldetenido)




                         Your grieved issue must meet all criteria listed below in order to be assigned a control             4 to   be appealed and/or to exhaust remedies.

 €ustody inmate, or decisions ofthe inmate disciplinary hearings officer,

 sexual assault, harassment, voyeurism, or abuse no time limits exist. lf you believe an exception applies please see a CRW (Correctional Rehabilitation       worker.)
 The grieved issue must not be a repeat submission of a grievance collected within the last 15 calendar da1s.
 The grieved issue must not be a repeat submission of a grievance that previously received a response and was appealed.
 The grieved issue must not be a repeat submission of a grievance that previously received a response and you chose not to appeal the response        within   15 calendar days
 The grieved issue must not contain offensive or harassing language.
 The grievance form must not contain more than one issue.
 The grievance issue must not pertain to non-iail related concerns such as   with                                      or medical staffat outlvins hosDitals. etc.


 El asunto de la queja tiene que satisfacer        todo el criterio listado m6s abajo para obtener un nimero de control, para           ser apelado   y/o agotar todos     los remedios posibles.

 designaci6n del preso. Tal como riesgo de seguridad o custodia de protecci6n para los presos, o decisiones del oficial de audiencias disciplinarias para los presos,



 (rRc/cRw).
 El   asunto de la queja no puede ser una repetici6n de una queja sometida en los oltimos 15 dias calendarios.

 los 15 dias calendarios.
 El asunto de la queja no puede contener lenguaje ofensivo o amenazante
 La solitud de la queja no puede contener m5s de un asunto.


 hospitales perif6ricos, etc.



 DATE OF INCIDENT                 TIME OF INCIDENT               SPECIFIC TOCATION OF INCIDENT                                  NAME and/or IDENnFIER(S) OF ACCUSED
 (Fechd Del lncidente)            (Horo Del lncidente)           (Lugar Especifico Del lncidente)                              (Luqar Especifico Del lncidente)




 (Nombre del personol o presos que tengon informoci6n:)




(FCN-40aXAUG 16)                               (wHrTE COPY - TNMATE         SERVTCES)               (YETLOW COPY   -   CRWPLATOON COUNSELOR)                              (PINK COPY   -   INMATE}
?.n                              Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 11 of 17 PageID #:22
                             COOK COUNTY SHERIFF'S OFFICE
  \@+F/                      (Oficino Del Alguocil del Condodo de Cook)

  z=ffi{                     IN MATE G RIEVANCE RESPON SE/APPEAL FORM
             V               (Formulario de Quejo del Preso/ Apelocion)




       trl
                                 \                                                                   THIS SECTION IS TO BE COMPTET€D BY
       F
              INMATE SIGNATURE (Firmo del Preso)                                                                                                      DATE RESPONSE WAS RECEIVED: (Fecho en que lo respuesto fue recibido)
                                                                                                                                                                                                                             z
                                                                                                                                                                                                                             3
       2
       =                                                                                                                                                                                                                     -t
                                                                                                                                                                                                                             m




                       To exhaust administrative remedies, grievance appeals must be made within 15 calendar days of the date the inmate received the response. An
                       appeal must be filed in all circumstances in order to exhaust administrative remedies,
                                                                                                                                                                                                                             +
                       (Con elfin de agotar los recursos administrativos, las opelaciones de las quejos se deben realizar en el plozo de 75 dias despuis de que el recluso                                                   o
                       haya recibido lo respuesto. Lo apelocidn se debe envior en todos los casos a fin de agotor los recursos odministrotivos.)                                                                             E
                                                                                                                                                                                                                             m
                       lndependent of the CCDOC procedure and after receiving an appeal decision, if you are dissatisfied with the outcome, you must submit the appeal                                                       .!
 H                                                                                                                                                                                                                           o
 F                     grievance to the lllinois DepartmentofCorrections,Jail and Detention Standards Unit,1301 Concordia Court, P.O. BoxL9277, Springfield lllinois                                                         3
                                                                                                                                                                                                                             .o
 :                     62794.
                       (De manero independiente del procedimiento del CCDOC, y tras recibir lo resoluci6n de uno opelaci6n, si no estd satisfecho con el desenloce, debe
                                                                                                                                                                                                                             m
                                                                                                                                                                                                                             -{
 Z                                                                                                                                                                                                                           m
                       envior lo quejo de la opeloci6n o lllinois Department ol Corrections, loil and Detention Stondords Unit, 7307 Concordio Court, P.O. Bax 79277,                                                        (,
 o                                                                                                                                                                                                                           @
 o
 t
                       Springlie ld I I linois 62794. )
 F
 lrl
                   DATE OF INMATE'S REQUEST FOR AN APPEAI: (Fecho de la                                                       solicitud de la apelaci6n del            preso:)               /           I                   =
 J
 o-          INMATE'S BASIS FOR AN APPEAT; (8ose del preso pora una opelacion:)
                                                                                                                                                                                                                             {
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 F




                       ADMINISTRATOR/DESIGNEE'S ACCEPTANCE OF INMATE'S APPEAL? Yes                                                                        /5r)    tr        No.E
                       (Apelaci6n del preso oceptodo por el administrodor o/su desiqnado(o)?)
 INMATE SERVICES DIRECTOR/DESIGNEE'5 DECISION OR RECOMMENDATION: (Decision o recomendocion por porte del odministrodor o/su designado(o):)




 INMATE SERVICES DIRECTOR/DESIGNEE           ( Ad   m i n i st ro d o   r o/s u   D   e   si g n o d o (a) ) :    SIGNATURE fFirmc del Administtodor o/su Designado(o):):               DATE (Fecho):

                                                                                                                                                                                                 'tt
                                                                                                                                                                                                  '     r_r_

 UJ
 F
             INMATE SIGNATURE (Firmo del Preso):                                                                                                   DATE APPEAL RESPONSE WAS RECEIVEDi (Fecho en que lo respuesta fue         z
                                                                                                                                                   rccibido)                                                                 3
 :                                                                                                                                                                                                                           {m
 =                                                                                                                                                                            l/
 (FCN-4ob) ( AUG 16)                                              (WHITE COPY                    -   INMATE SERVICES)                       (YELLOW COPY    -   C.R.W.)                     (PrNK COPY   -   INMATE)
                              Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 12 of 17 PageID #:23



                          COOK COUNW SHERIFF'S OFFICE pFtctNA DEL                                               SHERIFF DEL       coNDADo DE cooK)

                          INMATE          DISCI     PtINARY REPORT 1NFaRME DtsctpLtNAlto rNrERNo)




    Dtv08-2018-2109                           N/A                                   1   304489                     57481 1 DBs                      t139522050                                 0376100


 lnmate'r ltame lPrlnll tlombre dcl reclw    lmfimh):                lnm.te's ooB (F.cJro de ndclmcntol,          Booklnt J{umbcr:         Division/UnltlDlvislon/unldadl:           nmte's Uvh3 Unh(Unld.d     de   vldr)

                      Brian Garcia                                              2t12t19U                          20170921161                    Division    I   RTU                               ln-Cell



                                                                                        rlm                                                                                                        fom
    f] VERBALWARNING                            Dat of lnfretlon:                             of   lnfr.dlon:                  tc.tlon   of lnfr.ctlon (1.[8ar da la lnfEcclonl:      Resthutlon         Altached:

    E FORMALCHARGE                                     2/L3l2OL8                                   10:30 AM                                DIVISION 08 RTU                              EYES             ENo
           NUMBER                                                                                                            CHARGE

                207                  Fighting


]     viaim           E lnmate                                                          to #;

]     witness         I sur          EI oth".@                                          Star #:
                                                                                                                                                        Brian Garcia
]     vialm           E lnmato                                                  Ll      ro#:

I     witness         I star         BJ otherlg4igiL                            El      st"r*,                                                          Deon Clopton
]     Vialm           E lnmate                                                  [-l     ro #:

f wimes I st"r                       tr     Other                               !       st"r*,                                                          H Richard
] Mctm E tnmate                                                                         tD #:

ft witnes I st"r                     E oth".-                                           Star #;
                                                                                                                                                        B   Allen02


On 13Feb18 Ofc. Richard #74946 and Ofc. Allen #15t145 were assigned to Div . 8 RTU when @ approximately 1045hrs. R\O hea|d detainee
Clopton, Deon # 20161203194 shout to everyone on the deck that he had a milk stolen from the sink in the washroom, then R\O witnessed
detainee Garcia, Brian *2OL7O92LL61put his gym shoes, and start arguing with detainee Clopton. At which time Ofc. Allen gave orders for
detainees to calm down and return to their bunks. Ofc allen also stood between the two detainees to keep them separate then detainee garcia
got around Ofc. Allen and the two detainees and began to exchange closed hand punches. 10-10 was called via radio. As R/O approached the
area of the fight' serveral detainees can be heard saying let them fight c\o or we"ll tear this bitch up . detainees then began to surround the
fight scene R/O was reluctant to intervene with out backup because there were two different gang factions represented in the fight and the
two were shouting at each other r/o is usually assigned to 3F so R/O is familiar with the tensions that exist on the tier on a daily basis. and how
Serious they are. still R/O continued to order detainee clopton to stop by his name. as well as order the other detainees to back up. after
repeated strikes to detainee Garcia's facial area Sgt Silos and Sgt. Spears responded along with several Officers. once adequate back up was on
the scene the two detainees were separated cuffed and escorted offtier. both detainees were taken for medical attention, Be advised there
were 32 detainees on the tier at the time vs two officers . back up was needed to intervene. and prevent possible assault or battery to assigned
tier officers.




    lnter-Agcncv Heahh lnquiry Submitted:     lf YEs, Date Submitted:                   Assesmentcomplctcd; EOrue                                                                             A$cament RecdEd:
El    yes E       uo      E   oua                                                   E yEs E tO                   rYES,wh6re? EMedicalHealth EMentalHeatlh                                    E     vrs E        r.ro

    ApprdedForPreHearingsetregationr E                 VgS Eto   E Ottl                                              was verbal warnlns     lssued:                          E YES E NO I OHn
            P.e-Hea.intsegregatlon:
    Placed ln                                        E YES E ruO E OHI                                               tfY$, were Prlyileges   Restricted                      I Vf S E ruO I Oll
                                                                                                                     fype ot Prlviledte adn Duration of Restdction
    f YES, Datefilme                                             r
                                                                     ^..li^h.
 clar3lflBtlon Unlt Perconnel (tulnt):                                                                              Tltle:                                                Star   I


 Reponlng Personnel's Name (Prrntlt                                       Star,                                 Slgnature;                                                                   Date:

                       H Richard


IF6N-85I{SEp      12}      Any lnformation and Reports produced from the Cook County Offender Management System (CCOMS) is for intemal                                                             pAGE 1 OF z
                                  distribution only. For an official copy of a report from CCOMS, contact the Business lntelligence Unit at
                                                                     CCSO.DataReouest@cookcountvil.oov
                         Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 13 of 17 PageID #:24


%           cooKcouNrYsHERrFF,soFFrcE 4 x
d*.".elNMATEDlsclPtlNARYREPoRT-FlNDlNGsoFFAcTANDDEclsloN7,
                   v            OFICINA DEL ALGUACTL DEL CONDADO DE Cook
                                INFORME DISCIPLINARIO INTERNO _ CONCLUSIONES DE HECHA Y DE DECISION


    Inmate's Name (Pintl {Nombre del recluso) (imprimir);                   lD   f   (Numero de ldentifieci6n):                   nmate's DOB (Fecha de nacimiento):

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                                                                                                                                                                           I I
                                                                                                                                                                            t                                          a-t
    Date ofHearing {Fecha de audiencia}:        nmate Requested Witnesses {Recluso pidi6 a                          6/aive 24 Hr, Notice (Redunciar d24 horas de aviso): Representative/lnterpreter
                                                restigos):
                 ^i
                 l-t
                                                                                                                                                                                     (Represef,   tante/int€rprete):
                                                EYes              E   wo                                                     EYes          ENo                                       EYes             ENo
    nmate WittreSs (Recluso testigo);                        Living Unit {Unidad de vl8a):                          nma{e $ltness (Rc}uso testigo):                     :iving Unit (Unidad de vida):


    lnmate Witness (Recluso testigo);                        .iving Unit (Unidad de vida):                          lnmate Witne$ (Recluso       tstigo)r               tiving Unit (Unidad de vlda):


    nmate's PIea to Charge (Motivo del recluso a cargo):

                                  tr      Guilty as Charged (Culpable de los cargos)                                                                r'-fl Not Guilty (No culpable)



                                                                                                               .t




  t ritnesd Signature (Firma del testigo recluso):




                                                 It is the finding of the Disciplinary Hearing Board that (mark all that apply):
                                        Es la    conclusion de la junta de Audiencia Disciplinaria que (marcar todo lo que aplique):
    E Guilty as Charged                           EI Not Guilty           H lnvalid Report       El 72 Hours Expired           E 8 Days Expired
   (Culpable de los cargos)                       (No    culpable)      (lnforme no viilido)     (72 horas caducado)           (8 dias caducado)
                                                   Disciplinary Hearing Board findings are based on the following
                                        (Resultados de la Junta de la Junta de Audiencia Disciplinaria se basan e Io siguiente):

   '.. .)rE lnmate's Reply/Disciplinary Report (lnforme                                     de respuesta/disciplinarias del                      recluso)                   E Other       (Otros)




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                                                                                                              a.,


                                                                                                      i       ''               .-)    ^   -""
 urscrpilnary Hearing tsoard Member.s signature:
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               \-" \\
                                                                                                                                                                oate:

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                                                                                                                                                            I




 lhe inmate was provided with a copy ofthe Disciplinary Hearing Board,s findings by:                                ;tafi Name {Print)

 )ate;                    [ime:                      loivision:                       lliving Unit:                 ;taffSignature:




  (rcN-78) (DEc 17)
  WHITE- Disciplinary Hearing Board's    copy                         plNK- lnmate,s copy after charging                                  YELLOW-   lnmate's copy after hearing disposition
         Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 14 of 17 PageID #:25




                   lnmate Grievance Number: 2018x01981


Your allegation(s) have been fonryarded to the Offices of
Professional Review and Divisional Superintendent for review
and/or investigation.

You may follow-up with the Office of Professional Review by
contacting their office directly or submitting an inmate request
form, to speak with the Divisional Superintendent.

Office of Professional Review
3026 S. California Ave
Building2l4thfloor
Chicago, lllinois 60608




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                         Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 15 of 17 PageID #:26
                                COOK COUNTY SHER!FF'S OFFICE
                                (Oficino del Alguacil del Condado de Cook)

                                INMATE GRIEVANCE FORM
                                (Formulorio de Queja del Preso)



 E     Grievance                                                                                          E Superintendent:
 E     Non-Compliant Grievance                                                                            E other:
 PRINT - INMATE LASI NAME (Apellido del Prcso):                           PR|NT - FIRST NAME (Primer Nombre):                               INMATE BOOKING NUMBER /#de rdentifr       co ci6   n del dete   n   ido)




                         Your grieved issue must meet all criteria listed below in order to be assigned a control             4 to   be appealed and/or to exhaust remedies.

 custody inmate, or decisions ofthe in mate disciplinary hearings officer.

 sexual assault, harassment, voyeurism, or abuse no time limits exist. lf you believe an exception applies please see a CRW (Correctional Rehabilitation worker.)
 The grieved issue must not be a repeat submission of a grievance collected within the last 15 calendar days.
 The grieved issue must not be a repeat submission of a grievance that previously received a response and was appealed.
 The grieved issue must not be a repeat submission of a grievance.that previously received a response and you chose not to appeal the response within 15 calendar days
 The grieved issue must not contain offensive or harassing language.
 The grievance form must not contain more than one issue.
                issue must not Dertain to non-iail related concerns such as with                                     or medical staffat outlying hospitals, etc.


 El asunto de la queja       tiene que satisfacer todo     el criterio listado mds abajo para obtener un     nimero de control, para   ser apelado   y/o agotar todos   los remedios posibles.

 designaci6n del preso. Tal como riesgo de seguridad o custodia de protecci6n para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.



 (rRc/cRw).
 El   asunto de la queja no puede ser una repetici6n de una queja sometida en los (himos 15 dias calendarios.

 los 15 dias calendarios.
 El asunto de la queja no puede contener lenguaje ofensivo o amenazante
 La solitud de la queja no puede contener m6s de un asunto.


 hospitales perifdricos, etc.



 DATE OF INCIDENT                  TIME OF INCIDENT                 SPECIFIC LOCATION OF INCIOENT                               NAME and/or IDENnFIER(S) oF ACCUSED
 (Fecho Del lncidente)             (Horo Del lncidente)             (Lugor Especifico Del lncidente)                           (Lugar Especifico Del lncidente)




 (Nombre del personol   o   presos que tengan int'ormoci6n:)




(FcN-aOaXAUG 16)                                 (WHITE COPY    -   INMATE SERVICES)                   (YEU-OW COPY   -   CRWPLATOON COUNSELOR)                     (P|NK COPY    -   TNMATE)
<
                             Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 16 of-IrIr
                                                                                          17 PageID #:27
                                    COOK COUNTY SHER!FF'S OFFICE
                                    (Oficina del Alguacil del Condado de Cook)

                                    INMATE GRIEVANCE FORM
                                    (Formulorio de Quejo del Preso)



     E     Grievance                                                                                         E Superintendent:
     E     Non-Compliant Grievance                                                                           E other:
     PRINT - INMATE LASI NAME (Apellido del Preso):                          PRINT - FIRST NAME (Primer Nombre):                                    INMATE BOOKING NUMBER /# de identifrcoci6n deldetenido)




                             Your grieved issue must meet all criteria listed below in order to be assigned a control              f, to   be appealed and/or to exhaust remedies.

     custody inmate, or decisions ofthe in mate disciplinary hearings officer.

     sexualassault,harassment,voyeurism,orabusenotimelimitsexist.             lfyoubelieveanexceptionappliespleaseseeacRw(correctionalRehabilitationworker.)
     The grieved issue must not be a repeat submission of a grievance collected within the last 15 calendar days.
     The grieved issue must not be a repeat submission of a grievance that previously received a response and was appealed.
     The grieved issue must not be a repeat submission of a grievance that previously received a response and you chose not to appeal the response         within   15 calendar days
     The grieved issue must not contain offensive or harassing language.
     The grievance form must not contain more than one issue,
     The grievance issue must not pertain to non-iail related concerns such as    with                             matters, or medical staff at outlying hospitals, etc.


     El   asunto de la queja tiene que satisfacer todo el criterio listado miis abajo para obtener un nfmero de control, para ser apelado y/o agotar todos los remedios posibles.

     designaci6n del preso. Tal como riesgo de seguridad o custodia de protecci6n para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.



     (rRc/cRw).
     El   asunto de la queja no puede ser una repetici6n de una queja sometida en los iltimos 15 dias calendarios.

     los 15 dias calendarios.
     El asunto de la queja no puede contener lenguaje ofensivo o amenazante
     La solitud de la queia no puede contener mds de un asunto.


     hospitales perif6ricos, etc.



     DATE OF INCIDENT                 TIME OF INCIDENT                 SPECIFIC LOCATION OF INCIDENT                                 NAME and/or IDENnFIER(S) OF ACCUSED
     (Fecho Del lncidente)            (Hord Del lncidente)             (Lugor Especifico Del lncidente)                             (Lugar Especifico Del lncidente)




     (Nombre del personal o presos que tengan informdci6n:)




    (FcN-aoa)(AUG 16)                              (WHITE COPY     -   INMATE SERVICES)                   (YErrow coPY    -   cRW/PLATOON COUNSELOR)                         (PINK COPY _ INMATE)
                                   Case: 1:19-cv-02518 Document #: 4 Filed: 04/15/19 Page 17 of 17 PageID #:28
                                    COOK COUNTY SHERTFF'S OFFICE
                                        (Oficino del Alguocil del Condado de Cook)

                                       NON.COMPTIANT GRIEVANCE RESPONSE FORM
                                                              Solicitud


PRINT - INMATE LASI N AME (Apellido del Preso):                                  PRINT - FIRST NAME (Primer Nombre ):                                 INMATE BOOXING NUMBER /#de identifi@cidn del Preso)


              ,   /        "" )
                                      /--
DIVISION /Divlsidn):




INMATE     f      (SHORT   *l   (# Del Preso (# corto)):                         GRIEVANCE CODE lc6digo de Quejol                                    DETERMTpED BY c.R.W. ldeteminodo por el T.R.q c.R.w.l

               .. 1.    _)                                                                .,/.t/ ,':     .,-,,
          i                     ./','.-'..           (                                    ,/     _-/'l



   Your grieved issue is not beint processed due to the checked area(s) below. This grieved issue will not be assigned a control #, cannot be appealed
                                                                and remedies cannot be exhausted
tr The grieved issue is one of the following non-grievable matte6: formulation of departmental policies, inmate classification including designation of an inmate as a
security risk or protective custody inmate, or decisions of the inmate disciplinary hearings officer.
E The grieved issue did not occur within the last 15 calendar days nor is it an allegation is of sexual ass:ruh, harassment, voyeurism, or abuse, lf you believe an
exception applies please see a CRW (Correctional Rehabilitation Worker.)
E The grieved issue is a repeat submission of a grievance collected within the last 15 calendar days.
[1 The grieved issue is a repeat submission of a grievance that previously received a response and was appealed.
E The grieved issue is repeat submission of a grievance that previously received a response and you chose not to appeal the response within 15 calendar days
E Ofhnsive or harassing language was used
E   The grievance form contains more than one issue.
E   The grievance issue pertains to non-jail related concerns such as with arresting agencies, iudicial matters, or medical staff at outlying hospitals, etc,
E other           reason not listed



     El   asunto quejado no se estS procesando por las siguientes razones que est6n marcadas debaio. El asunto quejado no se !e asignar6 un nlimero de
                                             control, no puede ser apelado y los remedios no se pueden agotar.
E El asunto de la queja es uno de los siguientes temas, que no se consideran quejas formales: Formulaci6n de reglas del departamento, clasificaci6n del
detenido incluyendo designaci6n del detenido, tal como riesgo de se,guridad o custodia de protecci6n para los detenidos,.o decisiones del oficial de audiencias
dlscipllnarfas para los deteridos
E El asunto de la queja debe haber ocurrido dentro de los 15 dias calendario, y no se trata de acoso sexual, hostigamiento, voyerismo, o abuso. Si usted cree
que existe una excepci6n, hable o vea a un Trabajador de Rehabilltacl6n Correccional (TRC/CRW).
E El asunto de la queja no debe ser repetido de una queja que fue sometido dentro los 15 dias calendarios.
E El asunto de la queja es una repetici6n de una queja previamdnte rbcibida yIa cual ya ha rd8ido una respuesta o ya ha sido apelada.
E El asunto de la queja es una repetici6n de una queja previamente recibida y la cual ya ha recibido una respuesta y usted decidi6 no someter una apelaci6n
sobre la decisi6n dada en los 15 dfas ca]endario.
E El asunto de la queja contiene lenguaje ofensivo o amenazante.
E La solitud de la queja contiene m5s de un asunto.
E El asunto de la queja corresponde asuntos no relacionados con la cdrcel, tal como preocupaciones sobre la agencia de arresto, asuntos judiciales, o
empleados mEdicos de hospitales perifdricos, etc.
E Otra raztin




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NAME OF f NOIVIOUAI RESPONOING (Nombre del                                            SIGNATURE OF INDIVIDUAL RESPONDING (Firmo del
personal o presos que tengon informaciin:)                                            personal o presos que tengo, informoci;n)
                                                                                                   ..,           //
                                                                                                  1./



INMATE'S SIGNATURE OF RICFIPT {f'rn4a de recibo del preso):                                                       DATE RESPONSE RECEIVEO (Fecho de recibo de respuesta):




                                                           (WHITE COPY    -   INMATE SERVICES)                   (YErrow coPY   -      /PLATOON COUNSELOR)                   (P|NK COPY   -   TNMATE)
